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            EXHIBIT Q
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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

STATE OF NEW JERSEY, et al.,             :
                                         :
       Plaintiffs,
                                         :
  v.                                     :
                                         :
                                         :     Civil Action No.: ___________
                                                                  25-cv-10139
DONALD J. TRUMP, et al.,
                                         :
       Defendants.                       :
                                         :
                                         :
                                         :
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                             DECLARATION OF Jennifer Avenia

       I, Jennifer Avenia, hereby declare:

1. I am over the age of 18, competent to testify as to the matters herein, and make this

   declaration based on my personal knowledge or have knowledge of the matters herein based

   on my review of information and records gathered by our staff.

2. I am Director of Immigration Practice for the Connecticut Department of Children and

   Families (DCF), a position I have held since 2019. As Director of Immigration Practice I

   provide the following services: ongoing legal and clinical consultation and training for DCF

   staff and DCF affiliated community agencies concerning migrant children, youth and their

   families; guidance in developing and implementing DCF policy and operational strategies

   with regard to immigrants and refugees; certification of U and T Visas; collaboration with

   immigrant legal aid agencies and attorneys throughout the United States; communication

   with the federal Office of Refugee Resettlement / Unaccompanied Alien Children Program,

   the Connecticut Office of Refugee Resettlement and the United States Customs and

   Immigration Service (USCIS) and its constituent agencies, including Immigration and

   Customs Enforcement (ICE) as well as the United States State Department and numerous

   embassies and consulates.

3. Prior to holding this position, I worked in various clinical and administrative capacities at

   DCF since 1999. I am a licensed clinical social worker and an attorney with a Bachelor of

   Arts degree in history from Wesleyan University as well as a Master of Social Work degree

   and a Juris Doctorate from the University of Connecticut. I have a Practitioner's Certificate in

   Immigration Law from the Connecticut Institute for Refugees and Immigrants and am fluent

   in Spanish.

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4. As Director of Immigration Practice at DCF, I have personal knowledge of the matters set

   forth below or have knowledge of the matters based on my review of information and records

   gathered by my colleagues at the Connecticut Department of Children and Families.

5. The Connecticut Department of Children and Families is devoted to serving and supporting

   children at risk for child abuse and neglect as well as their families. DCF is responsible for

   investigating allegations of child abuse and neglect and, if necessary, arranging for a child’s

   protection.

6. DCF provides extensive clinical and legal consultation to its staff from licensed clinicians

   and attorneys working in its Regional Resource Groups and Office of Legal Affairs.

7. DCF contracts with community-based agencies throughout the state to provide services for

   children and families. Services include psychotherapy, mentoring, parent education,

   substance abuse treatment, intensive in-home case management and clinical services,

   standard and therapeutic foster care as well as residential and inpatient psychiatric treatment.

8. If a child has been harmed or is at risk of harm, DCF will petition the Superior Court for

   Juvenile Matters (SCJM) and request court orders requiring parents to comply with services,

   orders of temporary custody and/or neglect adjudications. Children who are removed from

   their parents' care are usually placed in homes of licensed relative or fictive kin caregivers or

   other foster parents who have completed extensive training and are licensed by DCF or a

   private not-for-profit therapeutic foster care agency to provide foster care.

9. DCF provides foster care services to children regardless of their immigration status.

10. The average daily population of children in foster care in Connecticut in State Fiscal Year

   2024 was 2,666. The average daily population of children in foster care in Connecticut in

   Calendar Year 2024 was 2,704.



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11. Children often enter DCF’s care within the first year of their lives. The total number of

   children in foster care for all 12 months of Calendar Year 2023 was 4,165.

                          Federal Funding Tied to a Child’s Citizenship

12. DCF receives several sources of federal funding for providing services to U.S. citizen and

   “qualified alien” children that DCF does not receive for providing services to undocumented

   children.

                                       Title IV-E Funding

13. Under Title IV-E of the federal Social Security Act, the federal government provides grants

   to state foster care agencies with approved Title IV-E plans, including DCF, to assist those

   agencies with the costs of foster care maintenance for eligible children, as well as for

   adoption, guardianship, prevention, and other support services.

14. Pursuant to Title IV-E, the federal government partially reimburses DCF for foster care

   expenditures for children who are removed from home and placed in foster care and who

   meet the eligibility criteria for the former Aid to Families with Dependent Children (AFDC)

   program, as it was in effect on July 16, 1996.

15. Under the 1996 AFDC program, federal public benefits are limited to United States citizens

   and “qualified aliens.” As DCF understands the Title IV-E limitations, undocumented

   children are not “qualified aliens,” cf. 8 U.S.C. § 1641, and thus DCF does not receive any

   federal reimbursement for foster care expenditures by DCF for undocumented children.

16. Federal funding under Title IV-E covers foster care maintenance payments for eligible

   children and a portion of the State’s administrative expenses. Foster care maintenance

   payments cover the cost of basic necessities, including food, clothing, shelter, daily

   supervision, and school supplies for eligible children in DCF’s care. Federal funding is



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   provided on a quarterly basis after the State submits claims for eligible expenditures

   associated with eligible children.

17. In Federal Fiscal year 2024, DCF received $33,837,223 million in Title IV-E federal funding

   for administrative expenses and foster care maintenance payments for eligible children.

18. If children in the Connecticut foster care system were not granted citizenship, DCF would,

   consistent with state law, continue to provide these children with foster care services as

   needed. However, because those children would be ineligible for Title IV-E funding, DCF

   would not receive any reimbursement under Title IV-E for providing those services.

19. DCF has limited data with regard to the citizenship and immigration status of parents.

   However, we do know that DCF serves hundreds of U.S. citizen children with undocumented

   or noncitizen parents. DCF reasonably expects that some number of children born within

   the next 12 months will enter DCF’s care. If those children are purportedly denied birthright

   citizenship, DCF will lose material amounts of federal funding that it would use for foster

   care maintenance payments for those children, as well as reimbursement for administrative

   expenses associated with their care.




Other Federal Benefits Programs

20. DCF provides targeted support, resource assistance and referrals to families with at risk

   children. Many families with at risk children also receive assistance for their children through

   federal programs, including SNAP, TANF, and HUD vouchers, for which their children are

   eligible because of their citizenship status. If these children were not eligible for these

   federal programs, it could give rise to a significant increase in the number of children



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   entering the foster care system along with a related increase in costs to DCF in order to meet

   its statutory mandates.

                             Costs of Ascertaining Citizenship Status

21. In order to determine whether children in its care are eligible for federally funded programs

   like SNAP, Medicaid, TANF, or HUD vouchers, and in order to accurately obtain quarterly

   Title IV-E reimbursements for foster care services provided to eligible children, DCF needs

   to determine the citizenship status of the children it serves.

22. Presently, DCF relies on a birth certificate as evidence of U.S. citizenship. This is

   administratively simple, especially with respect to newborns that DCF social workers may

   interact with shortly after birth.

23. If birthright citizenship were purportedly terminated, it would complicate DCF’s

   determination of whether a child in foster care is eligible for Medicaid, SNAP, TANF, or

   HUD vouchers, or whether certain foster care services are reimbursable under Title IV-E.

24. To ascertain such eligibility, DCF social workers would have to develop a new system for

   determining the citizenship and immigration status of children in its care. That system would

   likely require DCF to take steps to determine, verify, and document the citizenship and

   immigration status of the parents of children who come into foster care. This could be

   especially difficult in certain circumstances where parents are unwilling to engage with DCF.

   It would cost considerable time and resources to implement such a system.

25. In addition, DCF must determine the citizenship of the children in foster care in order to

   assist them with matters related to their immigration status. The system developed to

   ascertain citizenship of children born to undocumented or noncitizen parents would have to




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    involve the cooperation of the embassies and consulates of the parents' countries of origin in

    order to obtain the parents' documentation of citizenship.

26. It is also not uncommon for parents to have problems with ascertaining their own citizenship

    status in their countries of origin as vital statistics may not be collected. Birth certificates in

    other countries are sometimes not at all available because people's births were not

    documented in the first place.

27. Undocumented children in DCF care are primarily from Guatemala, Honduras, El Salvador

    and Mexico, in that order. The embassies and consulates of Guatemala, Honduras and El

    Salvador are completely overwhelmed and unable to timely respond to routine requests for

    birth certificates at this time. We would anticipate further significant delays were birthright

    citizenship in the United States terminated.

28. The embassies and consulates usually require that both parents request and cooperate with

    the process of getting birth certificates for their children. If a parent is unavailable or

    unwilling to do this, it may not be at all possible to get a birth certificate for a child via the

    embassy or consulate.

29. If it is not possible for children to obtain birth certificates from their parents' countries of

    origin, then there is a strong likelihood that these children will become stateless if birthright

    citizenship is not available to them.

30. Stateless people are at vastly increased risk for becoming victims of homelessness, extreme

    poverty as well as sex and/or labor trafficking. They cannot work legally. Government

    benefits of any kind are unavailable to them. It is impossible to order their removal to another

    country because there is no other country that will accept them.




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31. DCF would have to expend considerable resources to develop and implement a system to

   determine, verify, and document the citizenship and immigration status of children whose

   citizenship could not be presumed on the basis of a birth certificate showing their birth in the

   United States. It would also incur significant costs to train and provide support services to

   DCF social workers to implement that system, which would be dependent upon already

   overburdened embassies and consulates. While the precise costs are difficult to estimate

   without further guidance from the federal government on how states must determine

   citizenship status, it would be extensive. This would be an additional burden to a system

   already struggling with ongoing workforce challenges. Because submissions to the federal

   government for IV-E reimbursements are due quarterly, DCF would have to develop and

   begin implementing such a system within a matter of months.

32. Additionally, DCF occasionally takes temporary custody of newborn children who have been

   abandoned, such as pursuant to Connecticut’s Safe Haven Act, CGS § 17a-59 and 17a-60.

33. The parents of such abandoned children may be unknown, and DCF would thus be unable to

   ascertain their eligibility for the above-mentioned federal programs.

34. Indeed, if a newborn is abandoned pursuant to the Safe Haven Act, Connecticut's Safe Haven

   law forbids DCF from requiring the person abandoning the child to disclose the biological

   parent’s name or other identifying information. DCF thus would be legally unable to seek the

   immigration status of the abandoned newborn’s parents unless that information were

   volunteered.

35. Thus, DCF would be unable to establish that abandoned newborns are U.S. citizens eligible

   for Title IV-E reimbursement for DCF regardless of the actual immigration status of the

   newborn’s parents.



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I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge.



Executed this 19th day of January, 2025, in Canton, Connecticut.




                                                      Jennifer Avenia

                                                      Jennifer Avenia

                                                      Director of Immigration Practice

                                                      Department of Children and Families

                                                      250 Hamilton Street

                                                      Hartford, Connecticut 06106




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